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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                         )              Chapter 11
                                               )
Yellow Corporation, et al.                     )              Case Nos. 23-11069 (CTG)
                                               )
                Debtors.                       )              Jointly Administered
                                               )


  INTERNATIONAL BROTHERHOOD OF TEAMSTERS, TEAMSTERS NATIONAL
    FREIGHT INDUSTRY NEGOTIATING COMMITTEE, AND INTERNATIONAL
   ASSOCIATION OF MACHINISTS AND AEROSPACE WORKERS’ TRIAL BRIEF
         1.     Yellow was not a Liquidating Fiduciary at the Time It Decided to Shut
                Down Terminal Operations and Discharge Its Union Represented
                Employees.
         Whether an entity is an employer subject to WARN should be measured at the time the

entity, if it was an employer, acquired the obligation to issue WARN notice to its employees. As

the Third Circuit held in United Healthcare:

         The thrust of WARN is to give fair warning in advance of prospective plant
         closings. It would appear, therefore, that if an employer knew of a .... closing and
         failed to notify its employees, the WARN Act would apply.
200 F. 3d 170, 178 (3d Cir. 1999), citing Hotel Employees Local 54 v. Elsinore Shores, 173 F. 3d

175, 182 (3d Cir. 1999). Once an employer knew of a closing and failed to notify its employees,

it cannot avoid its liability under the WARN ACT by subsequently becoming a liquidating

fiduciary. For example, in In re Jamesway Corp., 235 B.R. 329, 343 (Bankr. S.D.N.Y. 1999), the

court held that even if an employer became a liquidating fiduciary by October 18, 1995, it was still

liable under the WARN Act because its employees had been selected for layoff, and became

affected employees within the meaning of the WARN Act by October 12, 1995. See also Carroll

v. World Marketing Holdings, LLC, 418 F. Supp. 3d 299, 307 (E.D. Wis. 2019) (Whether an entity

was an ongoing business or a liquidating fiduciary should be measured at the time when WARN

notice would have been required). The WARN Act would be eviscerated if an employer, after it
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violated the WARN Act by deciding to discharge its employees without giving them notice, can

avoid liability by simply terminating its operations first before discharging its employees, so that

it no longer had any normal business operations by the time that it discharged its employees.

       Similarly, in In re Start Man Furniture, the District Court looked to the time period after

the entity decided to discharge its employees, but before the entity terminated its operations to

determine whether an entity was a liquidating fiduciary. The Court held a chain of furniture stores

was not a liquidating fiduciary because its activities after it filed for bankruptcy were the same as

its pre-petition activities. See 647 B.R. 116, 122, 132 (D. Del. 2020). The Court therefore looked

to the time period after the entity filed for bankruptcy on March 8, 2020 (and shortly after the

employer decided to shut down operations on March 5, 2020), and before the entity terminated its

retail operations on March 21st or 22nd, 2020 to determine whether the entity was a liquidating

fiduciary. See 647 B.R. 122-124. United Healthcare is distinguishable on the facts because in that

case the employer both terminated its business operations and decided to terminate its employees

during same time period of February 18th to the 21st, so that the company was already a liquidating

fiduciary by the time its obligation to issue WARN notices to its employees arose.

       According to Yellow, it decided to shut down its operations on July 26, 2023. (D.I. #4487-

1, Ho Decl., Ex. 41, pg. 9) Therefore, by July 26, 2023, Yellow’s unionized employees became

affected employees within the meaning of 29 U.S.C. §2101(a)(5), because they could reasonably

expect to experience an employment loss as a consequence of Yellow’s plan to shut down its

operations. An employee is required to issue WARN notice to its employees 60 days before the

first termination as a part of a plan closing or mass layoff. 20 C.F.R. §639.5(a)(1). By July 26,

2023, Yellow expected to terminate its unionized employees within a matter of weeks if not days,

given that it had already started the process to stop accepting new shipments. (D.I. #2581, ¶100)



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Yellow therefore acquired the obligation to issue WARN notices to its employees by July 26, 2023;

an obligation that it failed to fulfill when it failed to provide an adequate explanation of its reasons

for reducing the notice period. Consistent with the case law outlined above, Yellow cannot avoid

its obligations under the WARN Act by becoming a liquidating fiduciary after July 26, 2023.

Whether Yellow was continuing to operate its business, or had become a liquidating fiduciary,

therefore should be measured on July 26, 2023.

       The record clearly demonstrates that as of July 26, 2023, Yellow was continuing to operate

its business and therefore was not a liquidating fiduciary. For WARN purposes, engaging in

business includes “supply[ing] a service or good on a mercantile basis.” In re Start Man, 647

B.R. at 129. Yellow clearly was engaging in business by supplying the service of delivering

shipments in return for payment. On July 26, 2023, Yellow picked up 726 shipments, and more

importantly delivered more than 24,000 shipments. (D.I. #2581, 102; D.I. #4286, Ho Decl., Ex.

35, pg. 10-11) Yellow was subject to the WARN Act because it was not a liquidating fiduciary at

the time it acquired its obligation to issue WARN notices to its employees.

       Alternatively, and at the latest, the liquidating fiduciary analysis should focus upon the

company's activities in the period immediately prior to the layoffs, rather than at the exact time

when the layoffs occurred. In re Start Man, 647 B.R. at 130. Because a company needs employees

to continue its business operations, it would naturally terminate its last group of employees after it

ceased business operations. Measuring whether a company was a liquidating fiduciary at the time

it terminated its last group of employees would always deprive those employees of the protections

of the WARN Act. Congress could not have intended to provide the WARN Act’s protections to

the employees who were terminated earlier, but not to the employees who were terminated last,

even though due to the employer’s failure to provide notice all terminated employees were


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similarly deprived of an opportunity to adjust to the prospective loss of employment; and to seek

and obtain retraining that will allow [them] to successfully compete in the job market. United

Healthcare, 200 F. 3d at 178.

       Therefore, at the very latest, the Court should look to the final hours before Yellow

terminated its employees, rather than at the time Yellow terminated its employees, to determine

whether Yellow was continuing to operate its business or was a liquidating fiduciary. The Unions

contend Yellow was continuing to supply a service on a mercantile basis by having a driver

deliver a tractor and an empty trailer back to a terminal gate after completing deliveries; because

the return trip is an intrinsic part of the delivery service that Yellow offered to its customers. The

Unions also contend Yellow held a telephone conference with its Board of Directors no earlier than

noon eastern time on July 30, 2023, and that its final truck pulled into a terminal gate, after making

its last delivery, at the start of the telephone conference. Yellow is not a liquidating fiduciary

because during the final hours before it discharged its unionized employees, its drivers continued

to supply a service to its customers on a mercantile basis.

       2.      The Debtors Cannot Meet Their Burden of Proving the Court Can Exercise
               Its Discretion to Reduce WARN Damages that They Owe.

       Under 29 U.S.C. §2104(a)(4):

       If an employer which has violated the Act proves to the satisfaction of the court that
       the act or omission that violated the Act was in good faith and that the employer
       had reasonable grounds for believing that the act or omission was not a violation of
       [the] Act the court may, in its discretion, reduce the amount of the liability or
       penalty provided for in this section.

An employer therefore must prove both of two elements before the Court may, in its discretion,

reduce the amount of the liability or penalty provided by the WARN Act: The employer’s act or

omission that violated the WARN Act must be in good faith; and the employer must have

reasonable grounds for believing that its act or omission was not a violation of the WARN Act.

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See also Castro v. Chicago Housing Authority, 360 F. 3d 721, 730 (7th Cir. 2004)

(The good faith defense requires proof of the employer's subjective intent to comply with the Act,

as well as evidence of objective reasonableness in the employer's application of the Act). If an

employer’s act or omission that violated the WARN Act was not both objectively and subjectively

reasonable, §2104(a)(4) does not allow the Court to rely on its sympathy for the employer to reduce

WARN damages owed by the employer. See by analogy Marshall v. Brunner, 668 F. 2d 748, 753

(3d Cir. 1982) (In the absence of a showing by the employer that its failure to comply with the

FLSA was both in good faith and predicated upon reasonable grounds, a district court has no

discretion to mitigate the employer’s statutory liability for liquidated damages).

       This Court’ summary judgment opinion made clear that had Yellow issued to the Teamsters

and Machinists an adequate explanation of its reasons for shortening the notice period on July 30,

2023, then Yellow would not have violated the WARN Act at all by both terminating its unionized

employees and providing them with WARN notice on July 30, 2023. (D.I. #5227, pg. 2-4) Yellow’s

act or omission that violated the WARN Act therefore was its failure to provide an adequate

explanation of its basis for reducing the notice period as required by §2102(b)(3). Before the Court

can rely on §2104(a)(4) to reduce the Debtors’ WARN damages, the Debtors must first demonstrate

Yellow had reasonable grounds for believing its WARN notice did not violate §2102(b)(3).

       The legislative history of § 2104(a)(4) indicates that it was modeled on and should be

interpreted in accordance with the case law under § 11 of the Portal–to–Portal Act, 29 U.S.C. §

260, which amended the Fair Labor Standards Act (FLSA). Washington v. Air Cap Industries,

Inc., 860 F. Supp. 307, 315 (D.S.C. 1994), citing S.Rep. No. 62, 100th Cong. 1st Sess. at 24–25

(1987). Under the FLSA, to carry his burden of establishing the applicability of the (objective)

good faith defense, a defendant employer must show he took affirmative steps to ascertain the



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Act’s requirements, but nonetheless, violated its provisions. Martin v. Cooper Elec. Supply Co.,

940 F. 2d 896, 908 (3d Cir. 1991); Castro v. Chicago Housing Authority, 360 F. 3d 721, 731 (7th

Cir. 2004) (Employer failed to establish good faith defense, in part, because it failed to introduce

evidence as to whether its counsel conducted extensive research on the question of whether the

WARN Act applied to the Housing Authority, or merely made a cursory glance at the statutes and

caselaw). Without testimony from counsel, Yellow will not be able to demonstrate it made any

affirmatively efforts to ascertain what §2102(b)(3) required it to include in an adequate explanation

of its reasons for reducing the notice period.

       Moreover, as Castro demonstrates, that an employer consulted with counsel by itself does

not establish the employer’s violation of the WARN Act was objectively reasonable. Rather, the

Court must examine the quality and basis for the legal advice an employer received to determine

whether the employer’s reliance upon the advice was objectively reasonable. Washington, 860 F.

Supp. at 318 (“Without more evidence of the nature and extent of Aircap's consultation with

counsel and the specifics of and basis for the legal opinion, the court cannot hold that Aircap carried

its burden of proof on the good faith defense.”); United Paper Workers International Union v.

Alden Corrugated Container Corp., 901 F. Supp. 426, 443 (D. Mass. 1995) (When a case presented

legal issues of challenging complexity, it was not reasonable for an employer to rely on counsel’s

simple advice that the employer fell outside the jurisdiction of the WARN Act).

       Yellow’s task to demonstrate that it drafted objectively reasonable WARN notices is made

more difficult, because a reasonable employer should have known that its WARN notice must

mention TNFINC’s strike notice. The notice that §2102(b)(3) required Yellow to provide to its

employees must both identify the unforeseeable event and explain how the unforeseeable event

prevented the company from giving its employees 60 days notice. Alarcon v. Keller Industries,



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Inc., 27 F. 3d 386, 391 (9th Cir. 1994); Grimmer v. Lord Day & Lord, 937 F. Supp. 255, 257

(S.D.N.Y. 1996) (A WARN notice must set forth the specific facts that constitute the basis for

reducing the notice period). See also 20 C.F.R. §639.9 (At the time the employer provided shorter

than 60 days WARN notice to its employees, it shall provide a brief statement of the reason for

reducing the notice period, in addition to the other elements set out in §639.7). By July 30, 2023,

Yellow understood that TNFINC’s strike notice killed Yellow, i.e. that the strike notice was the

reason why Yellow was terminating its unionized employees without giving them 60 days notice

of the terminations. (D.I. #4286-1, Ho Decl., Ex. 35, pg. 118:19-22) Yellow, armed with the

knowledge that the strike notice caused its closure, and had it conducted some research into what

the regulation and caselaw required the WARN notice to include, should have known that its

WARN notices must mention TNFINC’s strike notice. See In re Jamesway, 235 B.R. at 347

(Employer’s belief that it could close without issuing WARN notice was clearly unreasonable

when the statutes, regulations and case law available at the time stated in no uncertain terms that

employers were required to provide, as soon as was practicable, basic WARN notice and a brief

statement explaining why reduced notice was necessary).

       In response to the Unions’ deposition topic, the Debtors claimed that the entire topic of

why Yellow’s WARN notices did not mention the strike notice was privileged. (D.I. #5331-4, Ho

Decl., Ex. 1, Response to Topic #18) Consistent with the Debtors’ representation, none of the

Debtors’ trial witnesses can offer testimony on why Yellow’s WARN notices did not mention the

strike notice. See D.I #4286-1, Ex. 35, pg. 164-165 (Hawkins both did not personally attend any

meetings that discuss the drafting of the WARN notices, and does not know why the WARN notices

to the Teamsters and Machinists did not mention the strike notice); Statlander Dep. Pg. 174:15-20

(Statlander was not involved in preparing Yellow’s WARN notices to either the Teamsters or the



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Machinists); Whitman Dep., pg. 39:19-25 (The words of the WARN notices were not Whitman’s

focus, and Whitman does not recall reviewing the drafts of the WARN notices). Since a party

should not be permitted to introduce at trial evidence that it withheld from discovery, the Debtors

both should not be permitted to, and cannot present any evidence at trial concerning why Yellow’s

WARN notices did not mention the strike notice. If the Debtors cannot even explain what grounds

Yellow relied upon to conclude the WARN notices need not mention the strike notice, they

certainly cannot demonstrate those grounds were objectively reasonable, as required by

§2104(a)(4) before the Court can acquire discretion to decide whether it should reduce the Debtors’

WARN damages.

       Importantly, the Teamsters and Machinists are not arguing that in each case the good faith

defense is invoked, the employer invoking that defense must introduce advice that it received from

counsel. The problem for the Debtors is that no one other than counsel knows whether any

investigations were made into the requirements of §2102(b)(3), or what were Yellow’s reasons (i.e.

grounds) for not mentioning the strike notice in its WARN notices. Consequently, without

testimony from counsel that it both is not and should not be permitted to offer, the Debtors cannot

demonstrate the Debtors’ drafting of the WARN notices, their act or omission that violated the

WARN Act, was objectively reasonable. In re Old Electralloy Corp., 162 B.R. 121, 126 (Bankr.

W.D. Pa. 1993) is easily distinguishable because in that case the employer was entitled to invoke

the faltering company defense, so that counsel correctly advised the company that it could issue

WARN notices to its employees on the same day that it closed. That case, therefore, did not

discuss; and is irrelevant to what an employer must prove to establish a good faith defense when

it relied on incorrect advice from counsel.




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        Moreover, the evidence demonstrates that Yellow had enough time to draft talking points

for its non-union employees that accurately described its reasons for closing, including explaining

how the strike notice led to its closing.    (D.I. #4286-1, Ho Decl., Ex. 35, pg. 162:21 – 163:1,

164:1-4; D.I. #3794-1, Ho Decl., Ex. 15, pg. 1, bullet point #1) Yellow cannot blame the lack of

time or a rapidly evolving situation for why it did not provide adequate WARN notices to the

Teamsters and Machinists, when it had enough time to draft a perfectly adequate explanation of

its reasons for shortening the notice period. The unpublished per curiam opinion in UAW Local

1077 v. Shadyside Stamping Corp., 947 F. 2d 946 * 3 (6th Cir. 1991), in which the Court blamed a

rapidly evolving situation for causing the lack of scientific precision in the layoff notices, is easily

distinguishable.

        Nor can Yellow avoid liability by pointing to the passage in Washington, in which the Court

stated that in Oil Workers v. American Home Prods., 790 F. Supp. 1441 (N.D. Ind. 1992) and UAW

v. Shadyside Stamping Corp., 1991 WL 340191 (S.D. Ohio 1991), the good faith defense was

properly applied because an employer substantially complied with the Act but committed certain

technical violations. See 860 F. Supp. at 317. In both Oil Workers and Shadyside, the employer

provided a reasonable explanation for its misinterpretation of the law, so that in Oil Workers the

governing law was ambiguous on whether an employer must issue repeated WARN notices to its

employees, while in Shadyside the employer’s notice only violated interpretive rules that were not

well known rather than any language of the WARN Act. See 790 F. Supp. 1450, 1452-1453; 1991

WL 340191 * 9. Similarly, in International Association of Machinists v. General Dynamics Corp.,

821 F. Supp. 1306, 1312-1313 (E.D. Mo. 1993), the employer’s violation of WARN by failing to

provide notice to the chief official of the international union was with good faith, because it proved

at trial that there was a longstanding practice to assume notice to the local union, which it provided,



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also constituted notice to the national union. Each of these cases demonstrate that to invoke the

good faith defense, an employer must prove it had an objectively reasonable basis for believing it

did not violate the WARN Act, In contrast, without testimony from counsel that it both is not and

should not be permitted to offer, Debtors cannot show Yellow had an objectively reasonable basis

for believing WARN notices can comply with §2102(b)(3) though they failed to mention the strike

notice that Yellow believed caused it to shorten the notice period.

       Nor do any of the other cases cited by the Debtors permit the Court to look beyond Yellow’s

drafting of the WARN notice to analyze whether it can (rather than whether it should) reduce the

Debtors’ WARN damages under §2104(b)(4). In Graphic Communications Union Local 31-N v.

Quebecor Printing Corp., 252 F. 3d 296, 301-302 (4th Cir. 2001), the court explained that one path

for the employer to demonstrate that it had reasonable grounds for believing a notice satisfied its

WARN Act obligations was to present evidence that it acted on advice of counsel, reasonably

believed the WARN notice provided sufficient notice for the plant closing, and evidence that it

held internal deliberations regarding the content of the notice. Similarly, in Frymire v. Ampex

Corp., 61 F. 3d 757, 768 (10th Cir. 1995), the Court held that though the employer was wrong in

believing the Colorado Springs campus was a single cite of employment, based on the regulations

and the caselaw reasonable minds can disagree on whether the Colorado Springs campus was a

single site of employment. Both cases therefore require the employer to demonstrate the objective

reasonableness of its incorrect belief to establish its good faith defense. Because in this case,

Yellow’s violation of the WARN Act was its inadequate drafting of the WARN notices, the analysis

of the objective reasonableness of Yellow’s act or omission that violated the WARN Act is limited

to whether Yellow’s defective drafting of the WARN notices was nonetheless objectively

reasonable.



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       Because the Debtors cannot demonstrate Yellow had reasonable grounds for believing its

act or omission that violated the WARN Act, the deficient drafting of the WARN notice, complied

with §2102(b)(3), §2104(a)(4) does not grant to the Court any discretion to reduce WARN damages

owed by Yellow. The Teamsters and Machinists therefore are entitled to 100% of the WARN

damages provided to them by statute.

       3.      Conclusion.

       Based on the correct legal standards outlined in this trial brief, following trial, the Court

should reject both the Debtors’ liquidating fiduciary and good faith defenses. Because the Debtors

have never objected to the amounts of the proofs of claim, the Teamsters and Machinists are

entitled to the entirety of the amount of WARN damages sought by their proofs of claim.



Date: January 14, 2025
                                         Respectfully submitted,


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